
UPON REHEARING EN BANC
FRANK, Judge.
This matter comes before the Court on a rehearing en banc from a divided panel opinion rendered May 10, 2005. In that opinion, a panel of this Court considered appellant’s appeal of the trial court’s finding that the evidence was sufficient to convict her of two counts of felonious child neglect in violation of Code § 18.2-371.1(B)(1). She contended the evidence was insufficient to support the convictions because the Common*37wealth did not prove she willfully failed to provide care for her children in a manner so gross, wanton and culpable as to show a reckless disregard for their lives. The majority agreed and reversed her convictions.
By order dated June 7, 2005, we granted the Commonwealth’s petition for a rehearing en banc, stayed the mandate of the panel decision, and reinstated the appeal. Upon rehearing en banc, we affirm appellant’s convictions.

BACKGROUND

When considering the sufficiency of the evidence on appeal of a criminal conviction, we view the evidence “in the light most favorable to the Commonwealth and grant all reasonable inferences fairly deducible therefrom.” Ellis v. Commonwealth, 29 Va.App. 548, 551, 513 S.E.2d 453, 454 (1999). So viewed, the evidence established that appellant had two children, L.J. and S. As of September 29, 2003, L.J. was five-and-a-half years old and S. was two-and-a-half. L. J., who attended kindergarten, had hearing and speech impediments, suffered from chronic asthma, and wore hearing aids.
L.J. did not attend school on September 29,2003. L.J. “had missed a fair number of days of school,” and when Richard Goodin, a family support worker at L. J.’s school, was unable to contact appellant about L.J.’s absence by telephone, he went to her home “to see if [he] could be of any assistance.” At about 9:30 a.m., Goodin knocked on the door of appellant’s residence “several times.” He heard a dog barking inside but “got no [other] response ... for a significant amount of time.” Goodin left and returned about 11:15 a.m. He again received no response to his knocking, but he also did not hear a dog barking, so he looked around the neighborhood. Playing in the woods about sixty feet away, he saw two children, one between four and six and another between two and three years old. The children were “interacting and laughing,” “having a good time.” The older child wore pants. The younger child was “completely naked” and “fairly dirty.” He had a runny nose, dried fecal matter running down his leg, *38and “had significant chafing in and around his behind____” The temperature outside was about 70 degrees.
Goodin knocked on several doors to see if he could determine to whom the children belonged, but when he received no response from any homes in the neighborhood, he called Child Protective Services and then 911. While waiting for the police to arrive, Goodin first watched the children from a distance and then took custody of the younger child when he started to climb on an automobile “that was being worked on” in a nearby “parking spot.” Goodin described the area as “dangerous” because of the presence of the car that was being worked on. Goodin also observed engine blocks and a weight bench with weights in the area “closer to the road.” Goodin did not see any cars traveling on the road at that time.
The police arrived within five to fifteen minutes. Officer Raleigh Anderson knocked on the doors of the three residences, but received no responses. When he knocked at trailer number 1060, the door came open. He “announced county police” in a “loud” voice, “pretty much yelling at one time,” but “nobody came to the door, so [he] pulled the door closed.” Corporal James Larkin approached the older child to try to determine where he lived. Although Corporal Larkin later learned the group was standing “right outside of [the children’s] home,” Corporal Larkin said the older child could not give his name or say where he lived and “kept saying no” when Corporal Larkin asked if the younger child was his brother. Corporal Larkin could not understand what the child was saying. The older child then pointed to a location away from appellant’s residence, and Corporal Larkin accompanied the older child in an effort to determine where he lived.
When Corporal Larkin and the older child walked away, the younger child became “pretty visibly upset,” “started calling mommy,” and ran toward trailer number 1060. The younger child “looked like he knew where he was going,” so Officer Anderson followed him. The child pushed the door open and ran inside, and Officer Anderson followed him as he ran into one of the bedrooms in the back, still “calling mommy.” *39When Officer Anderson saw a man and woman asleep in a dark bedroom, he stopped and “announced county police a couple of times.” When he received no response, he backed out of the trailer and started “pounding on the door” with his fist while “announcing county police.”
“After several times,” the man came into the living room, in which cigarette butts and potato chips were “strewn all over the floor.” Officer Anderson asked about the children, and the man went to get the woman. Appellant then came into the living room, identifying herself as Billie Jean Lloyd. She said she was just watching the children, who belonged to her sister, Samantha Morris. However, the younger child kept calling appellant “mommy” and “was getting kind of cuddly with her.” Appellant then asked Officer Anderson where the five year old was. Anderson radioed Corporal Larkin that he had found the children’s residence, and Anderson went to pick up Corporal Larkin and the older child and took them back to the residence.
Appellant kept maintaining that the children were her nephews “for a better part of the time — until [her] own mother showed up.” In time, appellant admitted she was the children’s mother and that her name was Samantha Morris. Appellant said she gave the false information because she was afraid that there were warrants for her arrest. When asked how the children came to be outside in that condition, she responded she was sleeping. She admitted the children had gotten out before, “a few days prior” and “that somebody in the [neighborhood] had to return them home.” Corporal Larkin “verified] that there weren’t any warrants for [appellant’s arrest],” then arrested her for the current offense. He did not remember whether there might have been an outstanding capias for appellant.
Appellant, who has a prior larceny conviction, testified at trial that the older child, L.J., had “great hearing loss in his left ear” and a lesser hearing loss in his right ear and that he had lost one of his hearing aids. He also had chronic asthma and an undiagnosed condition causing frequent pain in his left *40leg. “[H]e had been up the couple nights before,” which caused him to “be tired in the mornings.” Appellant testified that she “usually had to ... get L.J. up pretty early, like six or so ... because he was so hard to get out of the bed.” When L.J. woke up on September 29, 2003, he said he did not feel well. Because of L.J.’s complaint, coupled with the fact that his hearing aid was missing, appellant allowed him to stay home from school and planned to ask her mother to take them to the ear, nose and throat clinic that day to get a new hearing aid.
Appellant testified that she, L.J. and S. then sat on the couch watching cartoons. When S. looked as if he was getting ready to fall asleep, appellant asked L. J. if he wanted to take a nap and he said, “[Sjure.” Appellant closed the curtains and turned on a fan. She also “locked the chain lock on the door and the door knob lock and then we went in and all laid down in the bed.” Appellant fell asleep with the children in bed with her.
Appellant later awakened when she heard someone yelling, “Albemarle County Police.” Appellant “knew that there was a capias out for [her] arrest for a failure to appear,” so she sent the man into the living room to find out what was going on. Appellant admitted lying about her identity when she first spoke to the police, saying she did so because of the capias.
Appellant testified that she was in the process of toilet training S. by using “pull-ups.” She said that when S. “soil[ed] himself when he was wearing a pull-up,” he would often take it off himself, and she would clean him up and put a new one on him. She put a new pull-up on S. immediately before they went into the bedroom for a nap, and saw no chafing on S. at that time. She also testified that when she went to sleep, the living room floor was clean and was not covered with cigarette butts or potato chips.
Appellant denied “anything like this ever happened before with the children being out of the house like that.” She said she told Corporal Larkin that she and S. “were taking a shower one day and that L.J. liked to sometimes let his dogs *41out and that, just by chance, [she and S.] were just getting out [of] the shower and [she] caught L.J.,” but she denied “telling [the officers] anything as far as neighbors ... bringing” the children home.
Appellant admitted in her trial testimony that she had a “significant substance abuse problem.” She denied being under the influence of alcohol or drugs on September 29, 2003. She said that she had not used cocaine “around this time frame that the children were outside of [the] trailer” but that she had last used cocaine “[a]bout three days prior” to that incident.
In convicting appellant of the charged offenses, the trial court noted the following:
[T]he [question] the Court’s confronted with is ... did she omit proper care of her children and [was] this omission, this negligence, ... so great that it was wanton and likely to cause injury or which would make it not improbable that injury would be occasioned[.] [T]he facts that I’ve got are that somehow, she was so sound asleep, she was so deep in sleep that nothing would arouse her to alert her that her children were getting up and going outside and were outside for forty-five (45) minutes and that there were knocks at the door by Mr. Goodin.... There were knocks at the door by the police. There was shouting and whatever sleep she was in, it was so sound, it almost would require an earthquake to wake her up, and going to sleep in that fashion, and whatever caused that, with a five-year-old who I’ve heard is speech impaired, hearing impaired, had leg pain and a limp with chronic asthma and a two-year-old who can’t communicate. So we’ve got kids that are wandering outside who cannot communicate, cannot tell anybody who they are, there are no other responsible adults around, the two-year[-]old’s unclothed, Mr. Goodin says he finds them in a dangerous area and he searches for the parents, and she’s so asleep that she can’t be awakened to check on her children or know where her children are, and I think that meets the definition, coupled with what — that the neighbors [previously] brought the children back, that it was seventy *42(70) degrees, that she had awakened that morning, but couldn’t remain alert enough to omit being negligent in caring for her children or ... to be negligent in the omission of the care of her children, so I find her guilty____ [A]nd I add to that her credibility about not even being their mother. I think that factors in, too, in her omission in the care of her kids____

ANALYSIS

Appellant was convicted of violating Code § 18.2-371.1(B)(1), which provides in relevant part as follows:
Any parent, guardian, or other person responsible for the care of a child under the age of 18 whose willful act or omission in the care of such child was so gross, wanton and culpable as to show a reckless disregard for human life shall be guilty of a Class 6 felony.
When considering on appeal the sufficiency of the evidence presented below, we “presume the judgment of the trial court to be correct” and reverse only if the trial court’s decision is “plainly wrong or without evidence to support it.” Davis v. Commonwealth, 39 Va.App. 96, 99, 570 S.E.2d 875, 876-77 (2002); see also McGee v. Commonwealth, 25 Va.App. 193, 197-98, 487 S.E.2d 259, 261 (1997) (en banc). Under this standard, “a reviewing court does not ‘ask itself whether it believes that the evidence at the trial established guilt beyond a reasonable doubt.’ ” Myers v. Commonwealth, 43 Va.App. 113, 118, 596 S.E.2d 536, 538 (2004) (citation omitted and emphasis in original). It asks instead whether “any rational trier of fact could have found the essential elements of the crime beyond a reasonable doubt.” Kelly v. Commonwealth, 41 Va.App. 250, 257, 584 S.E.2d 444, 447 (2003) (en banc) (quoting Jackson v. Virginia, 443 U.S. 307, 319, 99 S.Ct. 2781, 2789, 61 L.Ed.2d 560 (1979)) (emphasis in original). Thus, we do not “substitute our judgment for that of the trier of fact” even if our opinion were to differ. Wactor v. Commonwealth, 38 Va.App. 375, 380, 564 S.E.2d 160,162 (2002).
*43The Supreme Court recently clarified the element of intent required to support a conviction under this statute: “The term ‘willful act’ imports knowledge and consciousness that injury will result from the act done. The act done must be intended or it must involve a reckless disregard for the rights of another [that] will probably result in an injury.” Barrett v. Commonwealth, 268 Va. 170, 183, 597 S.E.2d 104, 111 (2004); see also Correll v. Commonwealth, 269 Va. 3, 13, 607 S.E.2d 119, 124 (2005) (interpreting the meaning of “willful” in Code § 18.2-369, which proscribes abuse or neglect of incapacitated adults, adopting definition given “willful” under Code § 18.2-371.1(B)(1), that such conduct “ ‘must be knowing or intentional, rather than accidental, and be done without justifiable excuse, without ground for believing the conduct is lawful, or with a bad purpose’” (quoting Commonwealth v. Duncan, 267 Va. 377, 384, 593 S.E.2d 210, 214 (2004))). The issue of intent requires an examination not only of the act that created the risk but also of the degree to which the accused “was aware of the danger” that resulted from the act. Ellis, 29 Va.App. at 555, 513 S.E.2d at 457. A showing of “inattention and inadvertence,” i.e. simple negligence, is insufficient to justify the imposition of a criminal penalty. Id. at 555-56, 513 S.E.2d at 457; see also Duncan, 267 Va. at 384, 593 S.E.2d at 214 (“[T]he statutory language does not apply to acts of simple negligence.”). The negligence must be “gross negligence” and must be
“accompanied by acts of commission or omission of a wanton or willful nature, showing a reckless disregard or indifferent disregard of the rights of others, under circumstances reasonably calculated to produce injury, or which make it not improbable that injury will be occasioned, and the offender knows, or is charged with the knowledge of, the probable result of [her] acts.”
Barrett, 268 Va. at 183, 597 S.E.2d at 111 (quoting Cable v. Commonwealth, 243 Va. 236, 240, 415 S.E.2d 218, 220 (1992)).
“ ‘[W]hether the required intent exists is generally a question for the trier of fact.’ ” Haywood v. Commonwealth, 20 Va.App. 562, 565-66, 458 S.E.2d 606, 607-08 (1995) (quoting *44Nobles v. Commonwealth, 218 Va. 548, 551, 238 S.E.2d 808, 810 (1977)).
Applying these principles in Barrett, the Supreme Court affirmed appellant’s conviction for neglect of her daughter that resulted when the two year old placed her ten-month-old brother in the bathtub, where he drowned. Barrett, 268 Va. at 183-86, 597 S.E.2d at 110-12. The evidence established that Barrett knew her daughter was jealous of the infant and had a “propensity for attempting to injure [him].” Id. at 184, 597 S.E.2d at 111. Barrett also knew her daughter loved to play in the bathtub, was able to climb in and operate the tub’s faucets by herself, and had previously pulled the infant, “head first,” into the bathtub with her. Id. at 185, 597 S.E.2d at 111-12. Finally, Barrett acknowledged that the sound of water running in the bathroom was audible from other parts of the home. Id.
The evening before the infant drowned, Barrett stayed out all night drinking beer. Id. at 185, 597 S.E.2d at 112. She drove home at 6:00 a.m. and acknowledged that she was still intoxicated enough at that time to have been arrested for driving under the influence. Id. Sometime that morning, while “still intoxicated as well as tired,” Barrett fell asleep at a time when she “[knew] she was the only one left in the apartment to supervise the children.” Id. Barrett contended that “[w]hile [her] falling asleep was not without remorse and blame, it does not rise to the level of a willful act or omission committed with a bad intent, a bad purpose, or a conscious disregard for human life.” Id. at 184, 597 S.E.2d at 111. The Court disagreed, stressing that Barrett would have the Court focus on her “act of falling asleep” in a vacuum when it must be viewed in light of all the circumstances preceding and surrounding the tragic events. Id. When so viewed, the circumstances show beyond all reasonable doubt that Barrett was guilty of more than “ordinary negligence.” Id. She was fully aware of the older child’s earlier attempt to injure the baby, but recklessly disregarded those warning symptoms in neglect of her duty to protect both children. Id.
*45The dissent opines that Ellis controls. We disagree.
Ellis involved a mother who turned on a burner of her apartment’s gas stove to light a cigarette and then left the apartment to visit a friend in a nearby apartment while her two young children were napping. Ellis, 29 Va.App. at 551-52, 513 S.E.2d at 455. A fire broke out in Ellis’s apartment shortly after she left. Id. at 552-53, 513 S.E.2d at 455. In reversing Ellis’s conviction, we reasoned as follows:
While appellant ... purposefully and intentionally left her apartment ..., the intent which is relevant to our determination of “bad purpose” does not relate simply to why she left the apartment. Rather, it relates to the degree to which she was aware of the danger when leaving her children unattended. Here, no evidence establishes that ... she acted with knowledge or consciousness that her children would be injured as a likely result of her departure to visit a neighbor for a short period of time in another residential building.
[Further, the evidence] fails to show that appellant left the apartment knowing the burner was on and in conscious disregard of the likely ignition of a grease fire that would ultimately endanger the lives of her children----
... [I]nattention and inadvertence have not been heretofore equated with actions taken willfully, thus making them subject to criminal penalty. Similarly, appellant’s inability to “see anything wrong with what she had done by going outside and leaving the children alone in the apartment,” while clearly misguided, is reflective of simple negligence, not criminal conduct.
Id. at 555-56, 513 S.E.2d at 457 (citations omitted).
Here, as in Barrett, the trial court found that appellant was in such a deep sleep that “she can’t be awakened to check on her children or know where her children are.” Noting LJ.’s physical disabilities and S.’s young age, the court concluded that appellant omitted to take proper care of her children and that this omission was “so great that it was *46wanton and likely to cause injury of which would make it not improbable that injury would be occasioned.”
Unlike Ellis, there is ample evidence in the record to support the trial court’s finding. Specifically, we note L.J.’s inability to hear sounds that a non-impaired child would recognize as signs of danger. At oral argument, appellant acknowledged that parents of children with special needs are confronted with a heightened responsibility of supervising those children. Yet, while fully aware of her children’s limitations, appellant, a self-admitted drug user, fell into such a coma-like sleep for several hours during the daytime that she was unable to respond to banging on her door and a barking dog. Appellant did not waken by the disruption of her children getting out of her bed, and she did not respond to S.’s cries for his “mommy,” nor to the officer’s entry into the trailer announcing he was a police officer. Further, fecal matter on S.’s legs, having had time to dry and S. having developed significant “chafing on his behind,” indicates that the children had been left unattended for a substantial period of time.
Thus, appellant “created a situation ‘reasonably calculated to produce injury, or which [made] it not improbable that injury [would] be occasioned, and [she knew], or [was] charged with the knowledge of, the probable results of [her] acts.’” Barrett, 268 Va. at 184, 597 S.E.2d at 111 (quoting Cable, 243 Va. at 240, 415 S.E.2d at 220).
A reasonable fact finder could infer, based on common knowledge, that appellant knew there were inherent dangers in leaving the young children unattended during the day. See Duncan, 267 Va. at 386, 593 S.E.2d at 215 (noting that the fact finder could infer, by common knowledge, the dangers “inherent in such a situation”). The record supports the trial court’s conclusion that, in view of the special vulnerability of her children, appellant willfully exposed her children to a substantial risk of serious injury or death by falling into such a deep and inert sleep before adequately securing the safety of her children.
*47Accordingly, appellant’s convictions are affirmed.

Affirmed.

